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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
DAWN KEEFER, et al.,                        :   Civil No. 1:24-CV-00147
                                            :
             Plaintiff,                     :
                                            :
             v.                             :
                                            :
JOSEPH R. BIDEN, et al.,                    :
                                            :
             Defendants.                    :   Judge Jennifer P. Wilson

      CASE MANAGEMENT CONFERENCE SCHEDULING ORDER

      AND NOW, on this 26th day of January, 2024, IT IS ORDERED THAT:

1.    Case Management Conference. The initial case management conference

pursuant to Federal Rule of Civil Procedure 16 will be conducted via telephone by

the court on April 17, 2024, at 8:30 a.m. The parties shall call-in to the

conference calling number 877-336-1828, using the access code 2529544. The

primary purpose of this conference will be to establish case management deadlines.

Participation in this conference by counsel and by self-represented parties is

mandatory. Any counsel of record may participate in this conference call.

Counsel representing non-governmental corporate entities are reminded to comply

with Federal Rule of Civil Procedure 7.1.

2.    Case Management Plans. At least five business days before the

conference, counsel shall file their written joint case management plan with the

court via CM/ECF.


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3.     Pre-Case Management Conference. As required by Local Rule 16.3(a),

counsel shall confer and prepare for submission to the court a joint case

management plan on the form attached to the Local Rules and designated

“Appendix A.” Counsel should also be conversant with the district’s “Expense and

Delay Reduction Plan,” adopted on August 19, 1993, as required by the Civil

Justice Reform Act of 1990.

4.     Court Calendar. The parties and counsel are directed to the court’s

calendar, which is attached to this order, for the purpose of selecting dates and

deadlines to propose in the joint case management plan. The dates and deadlines

listed on the court calendar correlate with each trial list, and must be utilized

accordingly. Counsel shall select an appropriate trial list for the case, and then

propose the dates and deadlines that correspond with that trial list.1 In most cases,

an appropriate trial list will be approximately twenty months from the filing of the

complaint. However, in some cases an expedited or complex track may be

warranted. The parties are advised that once the deadlines have been established,

extensions of the deadlines will not be granted absent exceptional circumstances.




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 Counsel are advised that in certain complex cases expert reports may be necessary prior to the
dispositive motions deadline. In such cases, the expert discovery deadlines may precede the
dispositive motions deadline. All deadlines other than those related to expert witnesses shall
correspond with the trial list chosen by the parties.
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5.    United States Magistrate Judge. If the parties consent for a United States

Magistrate Judge to conduct all subsequent proceedings in this case and enter a

final judgment, they shall note the same in the joint case management plan. The

conference before this judge will be canceled and the United States Magistrate

Judge will reschedule the conference upon notification of the case assignment.

6.     Case Management Order. At the conclusion of the case management

conference, any oral agreements reached by counsel and any oral orders or other

additional directions issued by the court will be reduced to writing in a case

management order.


                                       s/Jennifer P. Wilson
                                       JENNIFER P. WILSON
                                       United States District Judge
                                       Middle District of Pennsylvania




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